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                            UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MASSACHUSETTS


In re:                                                  Chapter 7
                                                        Case No. 13-13453
John R. Dalferro                                        Honorable Frank J. Bailey

          Debtor
                                      /

         MOTION OF OCWEN LOAN SERVICING, LLC FOR RELIEF FROM THE
                            AUTOMATIC STAY
                        PURSUANT TO 11 U.S.C. § 362


          Ocwen Loan Servicing, LLC, a secured lien holder in the above captioned Chapter 7

proceeding, moves this court for an order, pursuant to 11 U.S.C. §362(d) and Rule 4001 of the

Rules of Bankruptcy Procedure, for relief from the automatic stay of 11 U.S.C. §362(a) so that it

may foreclose a mortgage which it holds on real property known and numbered as 379 Main

Street, Norwell, Massachusetts. In support of its motion, Ocwen Loan Servicing, LLC states the

following:

1.     On April 9, 2010, John Dalferro, executed a note to Ally Bank Corp. f/k/a GMAC Bank in

the original principal amount of $235,223.00 (the “Note”)( Exhibit A). The Note was

subsequently endorsed in blank and transferred over to Movant (assignee).

2.       The Note is secured by a mortgage executed by John R. Dalferro and non-Debtor Donna

M. Dalferro to Mortgage Electronic Registration Systems, Inc, dated April 9, 2010 and recorded

with the Plymouth County Registry of Deeds at Book 38610, on Page 32 (the “Mortgage”)

(Exhibit B). The Mortgage was subsequently assigned to Ocwen Loan Servicing, LLC by

assignment of Mortgage dated June 21, 2013 and recorded with Plymouth County Registry of

Deeds at Book 43256, Page 109 (Exhibit C). The Mortgage is a first mortgage on real property
